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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

THREE EXPO EVENTS, L.L.C.,               '
                     Plaintiff,          '
                                         '      CIVIL ACTION NO.
v.                                       '
                                         '        3:16-cv-00513-D
CITY OF DALLAS, TEXAS,                   '
                     Defendant.          '


                                  NOTICE OF APPEAL

         Notice is given that Plaintiff THREE EXPO EVENTS, L.L.C. hereby appeals to the

United States Court of Appeals for the Fifth Circuit, from this Court’s Memorandum

Opinion and Order [Doc. 136] entered May 11, 2017 and the final Judgment [Doc. 137]

entered May 11, 2017 in the above-captioned matter granting Defendant’s Motion to

Dismiss the Amended Complaint for lack of standing and dismissing this lawsuit and all of

the Plaintiff’s claims without prejudice and denying Plaintiff’s Motion for Leave to File a

Second Amended Complaint.

Date: June ____, 2017.

                                         Respectfully submitted,

                                         /s/ J. Michael Murray___________________
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                               CERTIFICATE OF SERVICE

       A copy of the foregoing instrument was filed electronically on June 6th, 2017. Notice

of this filing will be sent to all parties by operation of the Court's electronic filing system.

Parties may access this filing through the Court's system:

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